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  7

  8                       UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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                                            )
      BORREGO COMMUNITY HEALTH ) Case No.: 3:21-cv-01417-L-AGS
                                            )
 11   FOUNDATION, a California non-         ) Hon. M. James Lorenz,
 12
      profit public benefit corporation,    ) Courtroom 5B
                                            )
 13                                         ) THIRD AMENDED COMPLAINT FOR:
                          Plaintiff,        )
 14                                         ) (1) FRAUD
             vs.                            ) (2) REFORMATION
 15                                         ) (3) RESCISSION (in the alternative)
                                            ) (4) MONEY HAD AND RECEIVED
 16   INLAND VALLEY INVESTMENTS, ) (5) UNFAIR BUSINESS PRACTICES
      LLC, a California limited liability   ) (6) DECLARATORY RELIEF
 17                                         ) (7) RICO
      company; DRP HOLDINGS, LLC, a )
 18   California limited liability company; ) [DEMAND FOR JURY TRIAL]
      PROMENADE SQUARE, LLC, a              )
 19                                         )
      California limited liability company; )
 20   and DOES 1 through 50, inclusive,     )
                                            )
 21                                         )
                          Defendants.       )
 22   _______________________________ )

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 27
           Plaintiff Borrego Community Health Foundation (“BCHF”) alleges as follows:
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  1   I. Parties and their Respective Roles in Relevant Transactions.

  2       A. Plaintiff BCHF.

  3           1.         Plaintiff BCHF is, and at all times mentioned herein was, a California non-profit

  4   public benefit corporation. BCHF is a Federally Qualified Health Center (“FQHC”) with a mission to

  5   provide high quality, comprehensive, compassionate primary healthcare to people in their

  6   communities, regardless of their ability to pay. BCHF operates 26 clinics, primarily in underserved

  7   desert and inland communities throughout San Diego, Riverside, and San Bernardino Counties.

  8   BCHF provides essential services in Family Practice, Pediatrics, OB/GYN, Internal Medicine,

  9   Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid 19 related testing and vaccinations

 10   to over 200,000 patients, most of whom cannot find affordable comprehensive primary care from

 11   other sources. During the recent pandemic, BCHF tested tens of thousands of Californians for Covid-

 12   19 infections, and has vaccinated tens of thousands of people. BCHF’s continued operation is in the

 13   public interest.

 14           2.         Like all non-profit public benefit corporations, BCHF has no owners or shareholders.

 15   It is governed by a Board of Trustees (“Board”) and managed by salaried executives who report to

 16   the Board.

 17           3.         As a FQHC, BCHF operates pursuant to a comprehensive scheme of state and federal

 18   laws and regulations under which:

 19                a.       Rates for federally funded medical services paid by the State of California are set

 20                         for each BCHF clinic based in part on mandatory cost reports submitted to the

 21                         United States Center for Medicare & Medicaid Services (“CMS”);

 22                b.       Utilization of medical services is regulated; and,

 23                c.       Provider services are invoiced, reviewed, audited, and paid.

 24           4.         As a non-profit public benefit corporation providing essential medical services to

 25   underserved communities, BCHF is generally prohibited from intentionally entering into contracts

 26   for employment, facilities, goods, or services priced above fair market values without good cause.

 27   Numerous laws and regulations prohibit and/or penalize the “use” of a non-profit FQHC as a

 28   “conduit” to unlawfully siphon federal health care funds into the hands of third parties by way of
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  1   third-party contracts intentionally and without good cause set above fair market values. Billions of

  2   dollars of federally funded health program funds flow through FQHCs nationally every year. Over

  3   $100 million of these funds are paid to BCHF each year.

  4          5.      Because there are no owners or shareholders to report to, a FQHC’s Board of Trustees

  5   (typically made up of individuals untrained to detect so-called “white collar” crime) provides a thin

  6   line of defense against unscrupulous board members, executives, and employees who would

  7   circumvent the Board of Trustees’ oversight and unlawfully divert federal health program funds to

  8   third parties. One vehicle for the diversion of federal health program funds is contracts between the

  9   non-profit FQHC and providers of facilities, goods, or services that are unreasonably in excess of fair

 10   market value. When a diversion of funds like this occurs, the non-profit FQHC is not a perpetrator of

 11   the fraud; it is a victim of it. So are the underserved men, women, and children who rely on the

 12   continued operation of the FQHC to provide them with essential primary healthcare services.

 13          6.      As is relevant here, BCHF was victimized by three grossly over-priced 30-year term

 14   facility leases engineered by its deceased former CEO and his long-time friend, who develops, owns,

 15   and leases commercial property. The total combined full-term price of these three leases is over

 16   $100 million dollars. As further detailed below, these leases were never subject to due diligence.

 17   Nor were they submitted to the BCHF Board for analysis, review, and informed consent and

 18   approval. They couldn’t be. Even if it were marginally reasonable for a non-profit FQHC to enter

 19   into a 30-year facility lease (which it is not), recent independent appraisals show the total combined

 20   lease prices are $58 million over fair market rent (“FMR”). No informed rational FQHC board

 21   could lawfully approve these leases.

 22          7.      The leases were paid because BCHF’s former CEO Bruce Hebets personally directed

 23   and controlled the activities of BCHF’s former business manager (his wife) and its former chief legal

 24   officer, and because Hebets worked with his friend Darry Priest and the three Priest-owned LLC

 25   defendants herein to take over operations and management control of BCHF’s facilities procurement

 26   to enable the creation and implementation of the three leases that are the subject of this lawsuit. The

 27   scheme victimized BCHF and its patients in at least three ways:

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  1              a.     Exposure to State Suspensions and Federal Disqualification: In California,

  2                     government funded health program funds flow to FQHCs under the oversight of

  3                     the California Department of Health Care Services (“DHCS”). DHCS is

  4                     empowered to suspend all reimbursement for the provision of health care services

  5                     to Medi-Cal members in accordance with, inter alia, Welfare and Institutions

  6                     Code section 14107.11 and Title 42 of the Code of Federal Regulations section

  7                     455.23.1 Further, the United States Health Resources and Services Administration

  8                     (HRSA)/Bureau of Primary Health Care (BPHC) monitors FQHCs and can

  9                     suspend and/or disqualify BCHF from the FQHC program, including, inter alia,

 10                     an action by HRSA requiring BCHF to cease all activities in the program pending

 11                     corrective action (45 CFR 75.375) and possible suspension under HHS regulations

 12                     (2 CFR Part 376, 45 CFR 75.2). (As detailed below, DHCS is presently allowing

 13                     BCHF to continue operations under the guidance, oversight, and direction of a

 14                     DCHS appointed independent monitor. DCHS and its monitor have directed

 15                     BCHF to suspend payment of rent over FMR on the three leases that are the

 16                     subject of this action.)

 17              b.     Reimbursement rate adjustments: The cost of owning, renting, maintaining, and

 18                     upgrading clinic facilities is a substantial cost center for FQHCs providing

 19                     primary health care services of the type described above. As such, CMS

 20                     recognizes the fair market value of facility costs reasonably incurred and

 21                     truthfully reported by FQHCs in determining the reimbursement rates to be paid

 22                     clinics operated by the FQHC. Cost reporting in excess of fair market value

 23                     inflates the FQHC’s mandatory cost reports required under title 42 of the United

 24                     States Code section 1395g, and exposes BCHF to an order that it retroactively

 25   1
       It is public knowledge that BCHF is currently under investigation by the California Attorney
 26   General’s Division of Medi-Cal Fraud and Elder Abuse for fraud against the Medi-Cal program
      partly as the result of unauthorized contracts signed by BCHF’s former CEO, including contracts
 27   other than the facilities leases herein at issue.
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  1                        amend its cost reports, potentially leading to a reduction in reimbursement rates

  2                        paid by federally funded health programs. (DHCS and its monitor recently

  3                        indicated that DHCS will require BCHF to amend its CMS mandated cost reports

  4                        to reflect the fair market value of the three subject leases, and not the over market

  5                        rents actually paid on them.)

  6                c.      Non-profit 501(c)(3) tax status: Contract payments to disqualified persons in

  7                        excess of fair market values (or other unlawful diversion of a non-profit entity’s

  8                        revenue to falsely disguise profits as operating expenses) can result in tax liability

  9                        and/or loss of non-profit tax status. (See, e.g., Internal Revenue Code sections

 10                        4958(c)(1) and 4958(f)(1) and related Treasury Department Regulations in section

 11                        53.4958-3.)

 12          8.         Board oversight of executive action is therefore essential to BCHF’s placement of

 13   facility leases, which must be: (1) Entered into for a lawful purpose; (2) Sought competitively, and

 14   subjected to a diligent market value analysis; and, (3) To the extent reasonably possible, for no more

 15   than FMR and reasonable duration. The leases must also include reasonable terms under which the

 16   FQHC can terminate the lease.

 17          9.         Facility leases created by and entered into by a BCHF executive intentionally above

 18   FMR, without good cause, and without the fully informed consent of the Board, are per se unlawful

 19   ab initio, because, inter alia, they are entered into for an unlawful purpose—to defraud BCHF for

 20   thousands or even, as here, millions of dollars, while at the same time exposing BCHF to regulatory

 21   sanctions and related adverse financial and tax consequences.

 22      B. Defendant Promenade Square, LLC.

 23          10.        Defendant Promenade Square, LLC (“Promenade”) is a California limited liability

 24   company whose primary place of business is in El Cajon, California. Promenade is engaged in the

 25   commercial real estate business. BCHF is informed and believes that Promenade’s sole member and

 26   manager is Daryl Priest (“Priest”).

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  1          11.        Promenade is the owner and lessor of the structures and appurtenances located at 133

  2   and 155 West Main Street, El Cajon, County of San Diego, California, of which BCHF is the lessee

  3   (“Promenade Lease”).

  4      C. Defendant DRP Holdings, LLC.

  5          12.        Defendant DRP Holdings, LLC (“DRP”) is a California limited liability company

  6   whose primary place of business is in El Cajon, California. DRP is engaged in the commercial real

  7   estate business. Plaintiff is informed and believes that DRP’s sole member and manager is Priest.

  8          13.        DRP is the owner and lessor of the structures and appurtenances located at 590 North

  9   D Street, City of San Bernardino, County of San Bernardino, California, of which BCHF is the lessee

 10   (“DRP Lease”).

 11      D. Defendant Inland Valley Investments, LLC.

 12          14.        Defendant Inland Valley Investments, LLC (“Inland Valley”) is a California limited

 13   liability company whose primary place of business is in El Cajon, California. Inland Valley is

 14   engaged in the commercial real estate business. Plaintiff is informed and believes that Inland

 15   Valley’s sole member and manager is Priest.

 16          15.        By way of assignment from DRP, Inland Valley is now the lessor of the structures and

 17   appurtenances located at 750 East Main Street, City of Barstow, County of San Bernardino,

 18   California, of which BCHF is the lessee (“Inland Valley Lease”).

 19      E. Allegations Common to Defendants Promenade, DRP, and Inland Valley.

 20          16.        BHCF is informed and believes, and on that basis alleges, Priest is a longtime

 21   personal friend of former BCHF CEO Bruce Hebets (“Hebets”).

 22          17.        For the sake of brevity, and because BCHF is informed and believes that Priest is the

 23   sole owner, member, and manager of Promenade, DRP, and Inland Valley:

 24                a.      Promenade, DRP, and Inland Valley are also referred to collectively as the “Priest

 25                        LLCs”; and,

 26                b.      The three leases BCHF entered into with the Priest LLCs are referred to

 27                        collectively as the “Priest Leases.”

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  1      F. Fictitious Defendant, Agency, and Alter Ego Allegations.

  2          18.        The true names or capacities, whether individual, corporate, associate, or otherwise,

  3   of those identified herein as DOES 1 through 50, inclusive, are unknown to BCHF, who therefore

  4   sues said defendants by such fictitious names. BCHF is informed and believes, and based thereon

  5   alleges, each of the defendants designated herein as a DOE is legally responsible in some manner for

  6   the events and happenings herein referred to, and legally caused injury and damage to BCHF as

  7   alleged herein. BCHF is informed and believes, and based on that alleges, DOES are business

  8   entities or individuals who:

  9                a.      Are individually responsible in some manner for the damages arising from

 10                        transactions, acts, omissions, and/or occurrences that relate to matters referred to

 11                        in this complaint;

 12                b.      Are in privity of contract;

 13                c.      Have ratified and adopted the conduct of another person or entity (who is

 14                        responsible in some manner for the damages alleged herein) as their own;

 15                d.      Are the principals, agents, guarantors, owners, alter egos, joint venturers, or

 16                        partners of another person or entity who is responsible in some manner for the

 17                        damages alleged herein; or,

 18                e.      Are pooling participants with, or are otherwise jointly liable with another person

 19                        or entity who is responsible in some manner for the damages alleged herein

 20                        (whether based on Delos v. Farmers Insurance Group (1979) 93 Cal.App.3d 642,

 21                        Downey Savings & Loan v. Ohio Casualty (1987) 189 Cal.App.3d 1072, or any

 22                        similar joint liability theory).

 23          19.        BCHF will amend this Complaint to insert the true names and capacities of said DOE

 24   individuals or entities when they become known to BCHF.

 25          20.        Each defendant sued herein is the agent, co-conspirator, joint venturer, partner,

 26   employer, guarantor, ratifier, or employee of every other defendant and non-party participant in the

 27   wrongful acts alleged herein, and has been acting within the course and scope of said agency,

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  1   conspiracy, joint venture, partnership, guarantee, or employment, with the knowledge or consent of

  2   co-defendants and non-party participants, and each of them.

  3          21.     BCHF is informed and believes, and based thereon alleges, that each defendant has

  4   authorized or ratified the wrongful activities of each of the remaining defendants, and of the non-

  5   party participants in the wrongful acts alleged herein.

  6          22.     BCHF is informed and believes, and on that basis alleges, there is such unity of

  7   interest and ownership between the Priest LLCs that the separate personalities of the limited liability

  8   companies no longer exist and that if the acts are treated as those of the individual limited liability

  9   companies alone an inequitable result will follow (based on the factors set forth in Associated

 10   Vendors, Inc. v. Oakland Meat Co. (1962) 210 Cal.App.3d 825 and Arnold v. Browne (1972) 27

 11   Cal.App.3d 386, 394-395, and other applicable law).

 12   II. Venue and Jurisdiction.

 13          23.     Venue in the above-entitled Court is proper because: (1) the acts and omissions

 14   occurred in the County of San Diego; (2) the liability sued upon arose in the County of San Diego;

 15   and, (3) all of the defendants reside in or have their principal place of business in the County of San

 16   Diego, or did so reside at the time they committed the acts giving rise to this Complaint. (Cal. Code

 17   Civ. Proc., § 395.5.)

 18          24.     Jurisdiction is by defendants’ removal to this court under federal subject matter

 19   jurisdiction (now the seventh cause of action under RICO).

 20 III. Relevant Transactions.

 21      A. Overview.

 22          25.     BCHF received its first grant award from the HRSA in 2003, designating the

 23   organization as a FQHC in light of its commitment to increase access to medical services to the

 24   underserved communities surrounding BCHF. BCHF experienced substantial growth as a FQHC in

 25   the years that followed, expanding to over 20 clinic locations in three counties. Annual federally

 26   funded health program revenues thereafter reached nine figures.

 27          26.     Beginning no later than 2012, BCHF CEO and defendants’ owner, Daryl Priest

 28   caused BCHF to enter into a series of facilities leases with three Priest entities. None of these leases
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  1   were entered into with the informed consent of the BCHF Board. All of them were priced

  2   substantially above fair market value.

  3           27.        Late in 2020, following October 2020 raids by state and federal law enforcement

  4   authorities, DHCS suspended payment of federal funds to BCHF in conjunction with an investigation

  5   unrelated to the leases that are the subject of this lawsuit.

  6           28.        In the course of the investigation, numerous contracts were reviewed, including the

  7   Priest Leases. Independent certified commercial real estate appraisers made the following findings:

  8                 a.      On the lease with Promenade (El Cajon location), BCHF was paying $39,104.75 a

  9                         month above FMR, or $469,257 above FMR per year;

 10                 b.      On the lease with DRP (San Bernardino location), BCHF was paying $38,405.95

 11                         a month above FMR, or $460,871.40 above FMR per year; and,

 12                 c.      On the lease with Inland Valley (Barstow location), BCHF was paying $80,025.25

 13                         a month above FMR, or $960,303 above FMR per year.

 14           29.        In sum, BCHF has been paying the Priest LLCs $1,890,431.40 a year above FMR,

 15   and has paid over $11,500,000 above FMR cumulatively since inception of the Priest Leases. Here is

 16   a summary of the appraiser’s findings:

 17                                         El Cajon        San Bernardino       Barstow         Overpayments
            Lessor                         Promenade             DRP           Inland Valley
 18
            Current Rent - Month       $     111,686.00     $    62,704.00    $ 104,920.00
 19         FMR                        $       72,581.25    $    24,298.05    $ 24,894.75
            Monthly Overpayment        $       39,104.75    $    38,405.95    $ 80,025.25        $   157,535.95
 20         Yearly Overpayment         $     469,257.00     $ 460,871.40      $ 960,303.00       $ 1,890,431.40
 21         Initiation                          9/21/2012         9/15/2015           2/2/2016
            Years (to date)                    8.5               5.5                5.25
 22         Cumulative                 $   3,988,684.50     $ 2,534,792.70    $ 5,041,590.75     $ 11,565,067.95
 23
              30.        Additionally, the lease terms of 30 to 33 years on the Priest Leases is unreasonably
 24
      over market as well. A reasonable fair market term for these commmercial leases is 3 to 5 years.
 25
              31.        In order to remain in operation, BCHF signed an agreement with DHCS in February
 26
      2021 under which an independent monitor selected by DHCS would institute a robust corporate
 27
      integrity and compliance program at BCHF. As is relevant here, DHCS’ monitor directed BCHF to:
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  1   (1) stop paying above FMR on the Priest Leases; and, (2) take action to address over-FMR payments,

  2   excessive 30-year lease terms, and the failure to include lease provisions under which BCHF may

  3   terminate the leases. This lawsuit is BCHF’s good faith attempt to comply with those directives.

  4             32.        In response, the Priest LLCs acted in unison. The Priest LLCs demanded that BCHF

  5   continue to make over-FMR rent payments under the Priest Leases. In a May 25, 2021, email the

  6   Priest LLCs threatened that BCHF failure to pay the demanded rent on any one of the Priest Leases

  7   will result in immediate eviction proceedings as to all three locations that are the subject of the Priest

  8   Leases.

  9      B. How Hebets and the Defendants (operating through Priest) Created, Implemented, and

 10             Maintained the Three Priest Leases.

 11             33.        BCHF owns none of its own facilities. One of the key roles of BCHF’s management

 12   and operations is therefore the procurement of facilities in order to carry out its mission, as described

 13   above. Ordinary and regular operations and management of facilities procurement is performed by

 14   BCHF executives who venture into the marketplace and secure facility leases in Southern California

 15   in an arm’s length transaction at market prices, and submit the proposed leases to the BCHF Board of

 16   Trustees for approval. No one executive is authorized to unilaterally bind BCHF to a facilities lease.

 17   All such leases require Board of Trustee’s approval.

 18             34.        Because of BCHF’s non-profit status and its duty to report operational costs to the

 19   federal government, and because all facility lease terms must be presented to the Board of Trustees

 20   for review, landlords cannot work with individual BCHF’s executives in drawing up leases that are

 21   substantially above fair market value, and then put those leases into operation. The only means of

 22   obtaining such a lease is for the landlord to:

 23                   a.      Work hand in glove with the BCHF executive(s) in charge of facilities

 24                           procurement; and

 25                   b.      Participate in the operation and management of facilities procurement at BCHF;

 26                           and

 27                   c.      Work with a BCHF insider to exert enough control over BCHF’s ordinary

 28                           facilities procurement operations and management to initiate an over-market lease
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  1                        without seeking Board approval, and then maintain the lease so that over-market

  2                        rent payments will continue every month thereafter, for the duration of the lease.

  3                        Here are how the defendants worked with BCHF insiders to get this done:

  4          35.        Hebets, acting as BCHF’s Chief Executive Officer at the time, knowingly acted in

  5 concert with each of the Priest LLCs to enter into 30+ year leases at more than twice fair market rent.

  6 The Priest Leases were never presented to the BCHF Board for authorization or approval. As noted, In

  7 breach of his fiduciary duties, Hebets signed each of these contracts without:

  8                    Approval from the Board;

  9                    Disclosing their terms to the Board;

 10                    Disclosing to the Board his relationship with Priest;

 11                    Presenting the Board with any evidence of due diligence in determining the fair

 12                            market value of the contracts; and without,

 13                    A Board resolution approving any of the Priest Leases.

 14          36.        Hebets also knew that the all-volunteer BCHF Board members would review only

 15   those contracts presented to them, and that they would never have reason to see the Priest LLC leases

 16   unless the BCHF executive managing the relationship with Priest LLCs decided to present the leases.

 17                a.      As BCHF’s CEO, Hebets knew that financial reports presented to the Board did

 18                        not include or otherwise call out the individual facility rents in a way that might

 19                        suggest that they were over market or had unreasonably long (i.e., 30 year) lease

 20                        terms. Financial reports to the Board include only the aggregate rents paid on all

 21                        25 facilities.

 22                b.      Hebets also knew that BCHF’s accounts payable personnel would make monthly

 23                        rent payments as requested, without questioning the reasonableness of those

 24                        monthly rent payments.

 25                c.      Thus, unless the leases themselves were presented to the Board of Trustees for

 26                        vetting and approval, there was absolutely no way that BCHF would be put on

 27                        notice of any potential financial or other injury associated with, or caused in

 28                        whole or in part by over-market leases. Nor would the Board have any access to
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  1                        facts that might put them on inquiry notice that Hebets was working with Priest

  2                        and/or his senior executive Travis Lyons, and, through them, the three Priest

  3                        LLCs, to make all management and operations decisions for BCHF pertaining to

  4                        the Priest leases, in a manner contrary to BCHF’s ordinary operations and

  5                        management of facilities procurement, and contrary to BCHF’s financial and

  6                        regulatory compliance interests. These irregular management and operations

  7                        decisions were then carried out under Hebets’ direction, resulting directly in the

  8                        monthly mailing of rent checks from BCHF to Priest’s headquarters in El Cajon,

  9                        California over an eight-year period.

 10                d.      Hebets’ continued concealment of the leases from BCHF was a separate breach of

 11                        fiduciary duty in furtherance of the scheme to steal money from BCHF every time

 12                        a monthly rent check was mailed to BCHF.

 13                e.      Each time Hebets stood mute while management presented a financial report to

 14                        the board that failed to call out overmarket rents and 30-year lease terms of the

 15                        Priest LLC leases was also a separate breach of fiduciary duty in furtherance of

 16                        the scheme to steal money from BCHF.

 17          37.        Until his retirement from BCHF for health reasons, Hebets ensured that the over-

 18   market rents and 30-year terms of the Priest Leases were never reported to BCHF’s Board of

 19   Trustees. Throughout his final years as CEO, Hebets was in communication with Darryl Priest and

 20   Priest’s senior executive in charge of operations of the Priest LLCs, Travis Lyons. Priest leases were

 21   amended, again without notice to the Board or to anyone who might possibly report the leases to the

 22   Board. Through this relationship, Priest and Lyons, acting in their respective capacities as the owner

 23   and the chief of operations of the Priest LLCs, maintained direct involvement in the operational and

 24   management decisions of BCHF essential to the continuation of the grossly overpriced leases, and

 25   also carried out the directives of Hebets relating thereto.

 26         38.         Priest owns the three Priest LLCs. At all times, the three Priest LLCs acted through

 27 Priest and his employed senior executive Travis Lyons. Priest and Hebets devised a scheme under

 28 which Priest would utilize BCHF as a conduit of federal healthcare funds to pay for the overpriced
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  1 clinic facilities at issue here. In order to make the scheme work for the Priest LLCs, Priest, in his

  2 capacity as the owner of the Priest LLCs, worked with Hebets to devise management and operational

  3 decisions at BCHF which Hebets alone could not engineer or devise due to his lack of experience and

  4 expertise in facilities leasing. The Priest entities then carried out those activities under Hebets’

  5 direction.

  6          39.      As an example, Priest and Hebets decided to have BCHF sign the lease for the

  7 Barstow facility (the Inland Valley Investments, LLC lease) before the facility even existed. On

  8 information and belief, Priest then presented the over-market lease to a federally insured lending

  9 institution to help obtain financing for the facility (making BCHF in essence a participant in the

 10 development and financing of the Barstow facility). Priest then converted a defunct bowling alley in

 11 Barstow into a clinic. Hebets, whose pre-BCHF job training was in law enforcement, could not alone

 12 develop the operational or management decisions required to enable BCHF to engage in this activity

 13 without Priest’s assistance. Through Darry Priest, defendant Inland Valley Investments LLC took

 14 part in BCHF’s operations and management decisions essential to the commencement and

 15 maintenance of this lease. Once the plan was put in place, the Priest LLC (IVI) then carried out the

 16 plan under Hebets’ direction, who initiated and maintained the lease relationship without its

 17 disclosure to the BCHF Board of Trustees.

 18          40.      Travis Lyons is Priest’s senior executive and right-hand man, who functions as the

 19 chief of operations for the Priest LLCs. As Hebets was departing BCHF, Lyons began having regular,

 20 often weekly private meetings with Hebets’ successor as CEO, BCHF’s then Chief Legal Officer,

 21 Mikia Wallis (currently the subject of an ongoing criminal investigation). Lyons and Wallis met

 22 privately in regard to BCHF’s operations and management of the Priest owned entities, including the

 23 three Priest LLCs leased to BCHF and the Priest-owned management services organization contracted

 24 to BCHF. As an experienced commercial real estate development and management executive, Lyons

 25 was aware of fair market rent prices for the three subject Priest LLCs and would therefore be expected

 26 to know that the leases were far above market value in terms of both price and duration.

 27          41.      Lyons and, on information and belief, Wallis were aware of the exorbitant terms in all

 28 Priest-owned entity contracts with BCHF and, under Wallis’ direction, worked together in private to
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  1 continue to operate the relationship and activities of those entities with BCHF without BCHF Board

  2 knowledge of the enormous over-market sums of money BCHF paid the Priest LLCs and other Priest-

  3 owned entities (i.e., two management services organizations not at issue here). Through Lyons’

  4 regular private meetings with Wallis, the Priest LLCs regularly continued their participation in

  5 BCHF’s operations and management decisions pertaining to the Priest LLCs set up by Hebets and

  6 Priest. The decisions were then carried out under Wallis’ direction.

  7          42.             Until the investigation initiated by law enforcement in October 2020 brought

  8 her activities with the Priest entities to light, Wallis was BCHF’s Chief Legal Officer (CLO), and then

  9 its CEO. Wallis operated with the Priest entities (through Lyons) out of sight of both the BCHF Board

 10 of Trustees and other BCHF executives. Importantly, Wallis knew what was contained in reports to

 11 the BCHF Board, and more importantly, what was not. As relevant here, Wallis knew BCHF leased

 12 over 20 facilities throughout Southern California and would therefore know that it would be easy to

 13 continue to conceal the overmarket rents paid the three Priest LLCs in the financial report line item

 14 aggregated for all facility rents, which were not broken out individually by facility.

 15          43.     Wallis also knew that volunteer BCHF Board members would review only those

 16 contracts presented to them, and that they would never have reason to see the Priest LLC leases unless

 17 the BCHF executive managing the relationship with Priest LLCs decided to present the leases. Thus,

 18 unless the leases themselves were presented to the Board of Trustees for vetting and approval, there

 19 was absolutely no way that BCHF would be put on notice of any potential financial or other injury

 20 associated with, or caused in whole or in part by over-market leases. Nor would the Board have any

 21 access to facts that might put them on inquiry notice that Lyons, and through him, the Priest LLCs

 22 were working with Wallis to continue the Priest LLCs participation in the irregular facilities

 23 procurement operations and mamgement decisions made by Hebets and Darryl Priest. These decisions

 24 were then carried out under Wallis’ direction.

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  1       C. The Leases.

  2                  1.      The Promenade Lease.

  3          44.     Attached hereto as Exhibit A and incorporated as though set forth in full at this point

  4 is a true and correct copy of the 2012 Promenade Lease. It was amended to extend the term to 2045

  5 (a total of 33 years).

  6          45.     The Promenade Lease was never presented to the BCHF Board for authorization or

  7 approval. In breach of his fiduciary duties, Hebets engaged in the conduct described above with

  8 respect to the Promenade Lease.

  9          46.     There has been no action by the Board to ratify Hebets’ signing of the Promenade

 10 Lease or any of its amendments post signature.

 11                  2.      The DRP Lease.

 12                  Attached hereto as Exhibit B and incorporated as though set forth in full at this point

 13   is a true and correct copy of the 2015 DRP Lease. The DRP Lease was amended to change the

 14   commencement date to October 2016. The DRP Lease has a term of 30 years, to 2046.

 15          47.     The DRP Lease was never presented to the BCHF Board for authorization or

 16 approval. In breach of his fiduciary duties, Hebets engaged in the conduct described above with

 17 respect to the Promenade Lease.

 18          48.     There has been no action by the Board to ratify Hebets’ signing of the lease or any of

 19 its amendments post signature.

 20                  3.      The Inland Valley Lease.

 21          49.     Attached hereto as Exhibit C and incorporated as though set forth in full at this point

 22 is a true and correct copy of the 2016 Inland Valley Lease. The Inland Valley Lease was initially

 23 made between DRP and BCHF. DRP promptly assigned it to Inland Valley in 2017, in an assignment

 24 signed by Hebets and Priest. It has a term of 30 years, to 2046.

 25          50.     The Inland Valley Lease was never presented to the BCHF Board for authorization or

 26 approval. In breach of his fiduciary duties, Hebets engaged in the conduct described above with

 27 respect to the Promenade Lease.

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  1           51.        There has been no action by the Board to ratify Bruce Hebets’ signing of the lease or

  2 any of its amendments post signature.

  3        D. Allegations Common to the Promenade, DRP, and Inland Valley Leases.

  4           52.        With minimum due diligence, the over-FMR price and excessive duration of the

  5 Promenade, DRP, and Inland Valley Leases, combined with the absence of any term allowing BCHF

  6 to terminate a lease prior to their respective lease terms2, would have been readily apparent. The

  7 Promenade, DRP, and Inland Valley Leases and a due diligence report relating to them therefore

  8 could not be presented to the Board.

  9           53.        No rational, informed Board of Trustees for a non-profit FQHC would have, or could

 10 have, lawfully approved the Promenade, DRP, or Inland Valley Leases for, inter alia, the following

 11 reasons:

 12                 a.      The lease terms are unconscionable, and would result in the diversion of millions

 13                         of “over-FMR” dollars of federal health program money to entities owned by an

 14                         accomplice of the CEO;

 15                 b.      As set forth above:

 16                         i.   The Promenade Lease calls for payment of nearly $40,000 per month over

 17                              FMR, or more than $15,000,000 over FMR over the 33-year life of the lease;

 18                        ii.   The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

 19                              approximately $14,000,000 over FMR over the 30-year life of the lease;

 20                       iii.   The Inland Valley Lease calls for payment of more than $80,000 per month

 21                              over FMR, or approximately $29,000,000 above FMR over the 30-year life of

 22                              the lease;

 23                 c.      Approximately 90% of the revenue received by BCHF is paid by government

 24                         funded health programs (Medi-Cal and Medicare), and therefore:

 25                        i.    If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR

 26                              dollars paid to Promenade could be government health program money;

 27
      2
 28       Promenade: 2045 (33 years); DRP: 2046 (30 years); and, Inland Valley: 2046 (30 years).

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  1                      ii.      If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid

  2                       DRP could be government health program money; and,

  3                     iii.      If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-

  4                       FMR dollars paid Inland Valley could be government health program money;

  5                d.          The over-FMR facility lease payments expose BCHF to reductions in the allowed

  6                            reimbursements paid BCHF in prior years; and,

  7                e.          The close relationship between Hebets and Priest exposes the non-profit FQHC to

  8                            adverse federal tax consequences.

  9          54.        Priest is the sole manager and member of Promenade, DRP, and Inland Valley. Priest

 10 is an experienced owner and lessor of commercial properties. Promenade, DRP, and Inland Valley

 11 must each present their commercial leases to banks providing them with mortgages and other funding

 12 related to their leased properties. Promenade, DRP, and Inland Valley must perform due diligence

 13 regarding their lessees, before entering into a 30+ year lease that will be reviewed by lenders

 14 providing millions of dollars of financing to Promenade, DRP, and Inland Valley. Promenade, DRP,

 15 and Inland Valley are therefore presumed to know BCHF’s business, including that it is a non-profit

 16 health care provider doing business with federally funded health programs. Promenade, DRP, and

 17 Inland Valley are presumed to know FMR for their respective leases, that the stated rent is over FMR,

 18 and that the lease terms of 30+ years are far beyond fair market lease terms (in the absence of terms

 19 allowing BCHF to terminate the lease on reasonable notice). Priest signed the Promenade, DRP, and

 20 Inland Valley Leases and presented them to Hebets for his signature. Under these facts and

 21 circumstances, Promenade, DRP, and Inland Valley are charged with knowledge that they were each

 22 entering into an over-FMR lease with a non-profit FQHC.

 23          55.        BCHF has performed all of its obligations and duties under the Priest Leases, except

 24 those excused by law and equity.

 25       E. Combined Effect of the Priest Leases.

 26          56.        If enforceable, the Priest Leases would have siphoned $58 million in over-FMR

 27 money from BCHF over the life of the leases. Two of the leases (IVI in Barstow and DRP in San

 28 Berardino) have been terminated. Promenade Square in El Cajon remians in operation with BCHF
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  1 paying twice fair market rent under protest, with ppermission of the DHCS monitor overseeing

  2 BCHF’s operations since late 2020. Without judicial intervention on the Promenade Square lease, and

  3 without recovery of the $11.8 million in overpaid rent to date, the actions of Hebets and a handful of

  4 Priest entities that took place prior to Hebets’ death will continue to present an immediate threat to

  5 disable an essential provider of primary healthcare services to underserved inland communities in San

  6 Diego, San Bernardino, and Riverside Counties.

  7       F. The accrual date applicable to RICO claims under the discovery rule (and to all other causes

  8           of action pled above) is October, 2020; and plaintiff may sue to recover for the entire 8 years

  9           of losses.

 10          57.      The concealment of the scheme detailed above and of the fact of injury resulting there

 11 from worked to perfection until it came to light in October 2020 during a government investigation

 12 unrelated to BCHF’s facilities procurement. But for that unrelated investigation, the scheme that is

 13 the subject of this complaint would likely remain undiscovered because the information that might

 14 reveal it to persons with oversight responsibility (i.e., the Board of Trustees) was never placed in a

 15 form under which the over-market price and unreasonable terms of each of the three subject Priest

 16 LLC leases might be communicated to them.

 17          58.      Because plaintiff had no constructive or inquiry notice of the fact of injury throughout

 18 the eight-year life of the scheme, plaintiffs’ right to recover money stolen by defendants extends back

 19 to the commencement of each lease.

 20          59.      Accrual is the date on which the statute of limitations begins to run. It is not the date

 21 on which the wrong that injures the plaintiff occurs, but the date on which the plaintiff discovers that

 22 it has been injured. This is the "discovery rule" of federal common law, which is read into statutes of

 23 limitations in federal-question cases (even when those statutes of limitations are borrowed from state

 24 law) in the absence of a contrary directive from Congress. There is no such contrary directive from

 25 Congress applicable here that might limit application of the discovery rule. Thus, the success of

 26 Hebets and, on information and belief Wallis’ successful concealment of the over-market leases from

 27 BCHF and the fact of injury resulting from operates to delay the accrual date of any statute of

 28 limitation to October, 2020.
                                                    - 18 -

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  1           60.        Insiders Hebets and Wallis knew that volunteer BCHF Board members would review

  2 only those contracts presented to them, and that they would never have reason to see the Priest LLC

  3 leases unless the BCHF executive managing the relationship with Priest LLCs decided to present the

  4 leases.

  5           61.        As noted, the amounts paid every month in rent on each of the three leases would not

  6 be reported to the BCHF Board of Trustees. Rather, the amount paid each moth would be melded into

  7 a line item on financial reports of all facility lease expenses combined for all 20+ Southern California

  8 facilities leased by BCHF.

  9           62.        Thus, unless disclosed by Hebets or Wallis, there was no way that BCHF would be

 10 put on notice of the terms of the three subject leases, or that Hebets and Wallis were working with

 11 Priest, Lyons, and, through them, the three Priest LLC to make all management and operations

 12 decisions pertaining to the over-market leases for BCHF, and in a manner contrary to BCHF’s

 13 financial and compliance interests. The fact of injury from the leases and from the defendants’

 14 participation in BCHF’s facilities procurement and operations and therefore could not be discovered.

 15                                           FIRST CAUSE OF ACTION

 16                      (Imposition of a Constructive Trust Against Priest LLCs and Does 1-50)

 17           63.        BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 18 herein in this cause of action.

 19           64.        In committing the acts and omissions alleged above, Hebets, acting as BCHF’s Chief

 20 Executive Officer at the time, knowingly acted in concert with each of the Priest LLCs to enter into

 21 30+ year leases at more than twice FMR. The Priest Leases were never presented to the BCHF Board

 22 for authorization or approval.

 23           65.        In breach of his fiduciary duties, Hebets signed each of these contracts without:

 24                 a.       Approval from the Board;

 25                 b.       Disclosing their terms to the Board;

 26                 c.       Disclosing to the Board his relationship with Hebets;

 27                 d.       Presenting the Board with any evidence of due diligence in determining the fair

 28                          market value of the contracts; and,
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  1                e.      A Board resolution approving any of the Priest Leases.

  2          66.        There has been no action by the Board to ratify Hebets’ signing of the Priest Leases or

  3 any of their amendments post signature.

  4          67.        After Hebets signed the Priest Leases, Hebets and other former BCHF executives

  5 under Hebets’ direct control, who had knowledge that the terms of the Priest Leases were over FMR,

  6 suppressed disclosure of those lease terms to the Board. The misrepresentations and failures to

  7 disclose information and suppression of information concerning the Priest Leases were made with the

  8 intent to induce BCHF to pay and continue to pay the Priest LLCs over-FMR, and to act in the

  9 manner herein alleged in reliance thereon.

 10          68.        At all relevant times, Hebets was BCHF’s chief executive officer, standing in a

 11 position of trust with respect to BCHF. At all times, Hebets owed plaintiff a fiduciary duty.

 12          69.        At the time Hebets’ failure to disclose and suppression of facts occurred, and at the

 13 time the BCHF took actions in reliance thereon, BCHF was ignorant of the existence of the facts that

 14 Hebets and executives under his direct control suppressed and failed to disclose to the BCHF Board as

 15 detailed above. If the BCHF Board had been aware of the existence of the facts not disclosed by the

 16 Priest LLCs, the BCHF would not have, as it did, paid substantial sums above market rent in violation

 17 of law and regulations pertaining to its governance.

 18          70.        Concealment of the terms of the Promenade, DRP, and Inland Valley Leases from the

 19 BCHF Board, and prevention of due diligence in regard to the Priest Leases, was essential to success

 20 of the scheme. With a minimum of due diligence, the over-FMR price and excessive duration of the

 21 Priest Leases, combined with the absence of any terms allowing BCHF to terminate any of the Priest

 22 Leases prior to 2046 would have been readily apparent. The Priest Leases and due diligence reports

 23 relating to those leases therefore could not be presented to the Board. No rational, informed Board of

 24 Trustees for a non-profit FQHC would have, or could have lawfully approved any of the Priest

 25 Leases, for, inter alia, the following reasons:

 26                a.      The lease terms are unconscionable, and would result in the diversion of millions

 27                        of “over-FMR” dollars of federal health program money to entities owned by a

 28                        friend and accomplice of the CEO;
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  1           b.      As set forth above:

  2                    i. The Promenade Lease calls for payment of nearly $40,000 per month over

  3                       FMR, or more than $15,000,000 over FMR over the 33-year life of the lease;

  4                   ii. The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

  5                       approximately $14,000,000 over FMR over the 30-year life of the lease; and,

  6                  iii. The Inland Valley Lease calls for payment of more than $80,000 per month

  7                       over FMR, or approximately $29,000,000 above FMR over the 30-year life of

  8                       the lease.

  9           c.      Approximately 90% of the revenue received by BCHF is paid by government

 10                   funded health programs (Medi-Cal and Medicare), and therefore:

 11                    i. If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR

 12                       dollars paid to Promenade could be considered government funded health

 13                       program money;

 14                   ii. If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid

 15                       DRP could be considered government funded health program money; and,

 16                  iii. If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-

 17                       FMR dollars paid Inland Valley could be considered government funded

 18                       health program mone.;

 19                d. FQHC reimbursement rates are directly affected by the FQHC’s annual operating

 20                   cost reports submitted to CMS. Over-FMR facility lease payments result in

 21                   inflated CMS cost reports (unless there is a reasonable basis for payment of over-

 22                   FMR). Inflated cost reports expose BCHF to a demand that it amend and correct

 23                   its prior cost reports to reflect FMR. Amended cost reports showing $11,500,000

 24                   in reduced operating costs can result in retroactive rate adjustments. Retroactive

 25                   rate adjustments resulting from amended cost reports showing FMR (as opposed

 26                   to the over-FMR rent paid on the Priest leases) further expose BCHF to claims

 27                   that it refund claims overpayments resulting from inflated cost reports in prior

 28                   years.
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  1                   e. The close relationship between Hebets and Priest exposes the non-profit FQHC to

  2                      adverse federal tax consequences as detailed above in regard to Internal Revenue

  3                      Code and related Treasury Department regulations.

  4          71.      The fraud and deceit alleged herein were not discovered by BCHF until law

  5 enforcement raids on or about October 20, 2020, a date within three years before the commencement

  6 of this action. BCHF could not with due diligence have discovered the fraud and deceit of the Priest

  7 LLCs until on or about this date because the true facts were suppressed by Hebets, and others acting

  8 in concert with him even after his death, as detailed above.

  9          72.      In contrast, the Priest LLCs were always aware that the Priest Leases called for

 10 payment of rent by a non-profit FQHC so far in excess of FMR that no reasonable Board would

 11 consider their approval, much less approve them.

 12          73.      As alleged above, Priest is the sole manager and member of Promenade, DRP, and

 13 Inland Valley. Priest is an experienced owner and successful lessor of commercial properties.

 14 Promenade, DRP, and Inland Valley must each present its commercial leases to banks providing

 15 Promenade, DRP, and Inland Valley with mortgages and other funding on their leased properties.

 16 Promenade, DRP, and Inland Valley must perform due diligence regarding their lessees, before

 17 entering into a 30+ year lease that will be reviewed by lenders of Promenade, DRP, and Inland

 18 Valley. Promenade, DRP, and Inland Valley are therefore presumed to know BCHF’s business,

 19 including that it is a non-profit health care provider doing business with federally funded health

 20 programs. Promenade, DRP, and Inland Valley are presumed to know FMR for their respective

 21 leases, that the rent is far in excess of FMR, and that the lease term of 30+ years is far beyond fair

 22 market lease terms (in the absence of a term allowing BCHF to terminate the lease on reasonable

 23 notice). Priest signed the Promenade, DRP, and Inland Valley Leases and presented them to Hebets

 24 for his signature. Under these facts and circumstances, Promenade, DRP, and Inland Valley are each

 25 charged with knowledge that they were entering into over-FMR leases with a non-profit FQHC.

 26          74.      Accordingly, each of the Priest LLCs knowingly and willfully conspired and agreed

 27 with Hebets and Does 1-50, inclusive, to damage BCHF by and through Hebets’ and others’ fraud and

 28 deceit as described in detail above.
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  1          75.      As noted above, the Priest LLCs acted in concert in an effort to compel BCHF to

  2 continue to pay over-FMR rent on all three leases. As such, by adoption, ratification, and joint

  3 enforcement of the fraudulently induced and maintained Priest Leases, each of the Priest LLCs has

  4 joined with the other Priest LLCs in the conspiracy to defraud BCHF.

  5          76.      By virtue of defendants’ wrongful acts they hold stolen and embezzled funds totaling

  6 over $11.5 million, or real or personal property purchased with such funds, as constructive trustees for

  7 the benefit of plaintiff.

  8                                       SECOND CAUSE OF ACTION

  9                             (Reformation Based on Fraud Against Priest LLCs)

 10          77.      BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 11 herein in this cause of action.

 12          78.      In each of the Priest Leases (Exhibits A, B, and C) the parties thereto express their

 13 intention that the Priest Leases be interpreted so as to make and maintain performance thereunder

 14 lawful. The unlawful purpose of the leases is self-evident. As explained above, each of the Priest

 15 Leases were entered into without the informed consent of BCHF’s Board. Each of the leases call for a

 16 non-profit FQHC to pay and to report as operating expenses to CMS rent that is millions of dollars in

 17 excess of FMR, thereby resulting in the diversion of millions of dollars of federal health care funds to

 18 the Priest LLCs, and the inflation of reimbursement rates paid by the DHCS to the FQHC.

 19          79.      The above-described failure of the Priest Leases to reflect the true intent of the parties

 20 (i.e., that performance under the lease be only lawful) resulted from Hebets’ concealment from BCHF

 21 that, despite its express promise to the contrary, BCHF’s performance of the pricing terms and

 22 duration of the above-mentioned written instruments would be unlawful.

 23          80.      Without knowledge of the true facts and in reliance on Hebets’ false representations,

 24 BCHF was deceived and misled into performing under a lease that differed materially from the

 25 expressed intent of the parties that performance thereunder be lawful. BCHF’s reliance on Hebets’

 26 fraudulent omissions was reasonable and justified in that he was at all times plaintiff BCHF’s Chief

 27 Executive Officer and fiduciary.

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  1          81.     Fraud, as a basis for reformation, consists of (1) a false representation by one party

  2 and (2) justifiable reliance on the false representation by the other party. Here both exist. Civil Code

  3 section 3399 codifies the equitable remedy of reformation of written instruments. Section 3399

  4 provides that a written contract may be revised on application of the party aggrieved, when, through

  5 fraud, mutual mistake, or mistake of one party that the other party knew of or suspected at the time, a

  6 written contract does not express the true intention of the parties.

  7          82.     Here, the strong public interest in BCHF’s continued service of underserved and

  8 financially disadvantaged patients throughout the communities of San Diego, San Bernardino, and

  9 Riverside Counties, as detailed above, compels the court’s exercise of its equitable power to reform

 10 the Priest Leases.

 11          83.     Even though the BCHF Board was never given the opportunity give its fully informed

 12 consent to any of the Priest Leases, the Board reasonably expects and intends that all BCHF contracts

 13 conform with all applicable laws.

 14          84.     For the reasons detailed above, BCHF’s intent that the Priest Leases conform with all

 15 applicable laws (consistent the terms of the leases) cannot possibly be fulfilled without reformation of

 16 the rent prices to FMR, and without reformation of the 30-year lease term to five years or less, and

 17 without reformation of the leases to allow the non-profit FQHC tenant to terminate the lease for good

 18 cause on reasonable notice.

 19          85.     Plaintiff BCHF respectfully prays for each of the Priest Leases to be so reformed.

 20                                       THIRD CAUSE OF ACTION

 21                              (Rescission Based on Fraud Against Priest LLCs)

 22          86.     BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 23 herein in this cause of action.

 24          87.     Alternatively, if the Court cannot exercise its statutory and/or equitable powers to

 25 reform the leases, BCHF is entitled to rescind the Priest Leases, and for restitution of all sums paid the

 26 Priest LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of

 27 them.

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  1          88.      BCHF may rescind Priest Leases (1) if the contract is unlawful for causes which do

  2 not appear in its terms or conditions, and the parties are not equally at fault (Civ. Code, § 1689, subd.

  3 (b)(5)) or (2) if the public interest would be prejudiced by permitting the leases to stand (Civ. Code,

  4 § 1689, subd. (b)(6)). A commercial lease is unlawful if its consideration or object is (1) contrary to

  5 an express provision of law, (2) contrary to the policy of express law, though not expressly prohibited,

  6 or (3) otherwise contrary to good morals (Civ. Code, § 1667). Another ground for rescission and

  7 restitution not addressed by Civil Code section 1689, subdivision (b) allows recovery when the parties

  8 were ignorant of the illegality at the time they entered into the contract.3 Under the facts alleged in

  9 this Complaint, each and every one of the aforementioned grounds for rescission are met. In addition,

 10 the public interest will be prejudiced if the Priest Leases are permitted to stand, in that BCFH’s ability

 11 to provide quality healthcare in underserved areas will be undermined by inequitable diversion of

 12 funds to defendants. Further, the fraud described above is grounds for rescission.

 13          89.      BCHF therefor prays, in the alternative, and in the event that the Priest Leases cannot

 14 be reformed, for judgment rescinding the Priest Leases, and for restitution of all sums paid the Priest

 15 LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of the three

 16 leased facilities, along with orders providing for the reasonable surrender of the premises in a manner

 17 that will protect the interests of the patients BCHF is required to serve.

 18                                      FOURTH CAUSE OF ACTION

 19                    (Common Count for Money Had and Received Against Priest LLCs)

 20          90.      BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 21 herein in this cause of action.

 22          91.      A judgment of rescission supports an award of money to BCHF under a common

 23 count for money had and received. In addition to the facts supporting the fraud count pled above, the

 24 following facts also support a common count for money had and received.

 25

 26
      3
       Adams v. Heinsch (1948) 89 Cal. App. 2d 300, 302–305, 200 P.2d 796 (also on ground of mistake);
 27
      Brashears v. Giannini (1933) 131 Cal. App. 706, 709–711, 22 P.2d 47; Restatement (2d) of
 28   Contracts, § 198].
                                                   - 25 -

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  1          92.      BCHF is further informed and believes Hebets and Priest were friends. Beginning in

  2 2012, and continuing through December 2016, Hebets and Priest caused BCHF and several Priest-

  3 owned entities to enter into various contracts under which millions in federal healthcare funds were

  4 unlawfully diverted to the Priest-owned entities.

  5          93.      Beginning in 2012, and continuing through 2020, the Priest LLCs became indebted to

  6 BCHF in the sum of at least $11.5 million for money had and received by the Priest LLCs. Neither the

  7 whole nor any part of this sum has been paid, although demand therefor has been made, and there is

  8 now due, owing, and unpaid the sum of at least $11.5 million, with interest thereon, at the legal rate as

  9 the court may allow, according to proof at trial.

 10                                        FIFTH CAUSE OF ACTION

 11         (Violation of Business and Professions Code Section 17200, et seq. Against Priest LLCs)

 12          94.      BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 13 herein in this cause of action.

 14          95.      The actions described herein constitute unlawful and unfair business practices within

 15 the meaning of Business & Professions Code section 17203. BCHF has requested that the Priest LLCs

 16 cease the unfair business practices described herein. The Priest LLCs have rejected and continue to

 17 reject these requests.

 18          96.      As a direct, proximate and foreseeable result of the Priest LLCs’ unfair business

 19 practices, as described herein, BCHF has paid over $11.5 million in over-FMR rent, which is subject

 20 to orders of disgorgement and/or restitution under the UCL.

 21          97.      BCHF is informed and believes, and based thereon alleges, the Priest LLCs’ unlawful

 22 and unfair business practices, as described herein, are part of a plan to ignore and violate laws, and to

 23 compel BCHF to violate laws, applicable to contracts with non-profit FQHCs, as described above.

 24 BCHF is informed and believes, and based on that alleges, the Priest LLCs will continue with their

 25 unlawful and unfair business practices unless they are enjoined from doing so.

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  1                                        SIXTH CAUSE OF ACTION

  2                                   (Declaratory Relief Against Priest LLCs)

  3          98.     BCHF incorporates by reference Paragraphs 1 through 888 above as though fully set

  4 forth herein.

  5          99.     An actual controversy exists in regard to the parties’ duties and obligations under the

  6 Priest Leases as alleged in this Complaint, and as such, a judicial declaration of the parties’ respective

  7 duties and obligations is appropriate as to the matters in dispute, as alleged herein.

  8                                      SEVENTH CAUSE OF ACTION

  9                                      (RICO against Priest LLCs only)

 10          100.    BCHF incorporates all prior paragraphs in this complaint as though fully set forth

 11 herein in this cause of action.

 12           1.     The RICO Enterprise:

 13          101.    A detailed description of the RICO enterprise follows. Preliminarily:

 14                  a. The Enterprise is BCHF, non-profit corporation in good standing, which

 15                      defendants and Hebets (now deceased) secretly commandeered for their own

 16                      criminal purposes. Hebets death in 2019 does not alter the fact of his participation

 17                      (as a BCHF insider) with defendants in the operation and management of BCHF’s

 18                      facilities procurement, as described below. If Hebets were alive, he would be

 19                      named as a defendant herein.

 20                  b. BCHF is a Federally Qualified Health Center engaged in interstate commerce,

 21                      with a mission to provide high quality, comprehensive, compassionate primary

 22                      healthcare to people in their communities, regardless of their ability to pay. BCHF

 23                      operates over 20 clinics, primarily in underserved desert and inland communities

 24                      throughout San Diego, Riverside, and San Bernardino Counties. BCHF provides

 25                      essential services in Family Practice, Pediatrics, OB/GYN, Internal Medicine,

 26                      Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid 19 related testing

 27                      and vaccinations to over 200,000 patients, most of whom cannot find affordable

 28                      comprehensive primary care from other sources. During the recent pandemic,
                                                   - 27 -

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  1                      BCHF has tested tens of thousands of Californians for Covid-19 infection and has

  2                      vaccinated tens of thousands of people. BCHF’s continued operation is in the

  3                      public interest.

  4                  c. The current defendants are associated with the Enterprise in that they were or are

  5                      the Enterprise’s landlords for 3 locations;

  6                  d. The defendants are entities separate from the Enterprise.

  7                  e. None of the defendants are alleged to be the Enterprise, or its members.

  8          102.    BCHF is both the RICO enterprise and the victim. The unlawful acts detailed above

  9 and further alleged below were devised, directed and maintained by the individuals listed below who

 10 had control over, and/or participated in (i.e., took part in) BCHF’s operations and management as it

 11 pertains to facilities procurement. Again:

 12                  a. BCHF owns none of its own facilities. One of the key roles of BCHF’s

 13                      management and operations is therefore the procurement of facilities in order to

 14                      carry out its mission, as described above. Ordinary and regular operations and

 15                      management of facilities procurement is performed by BCHF executives who

 16                      venture into the marketplace and secure facility leases in Southern California in an

 17                      arm’s length transaction at market prices, and submit the proposed leases to the

 18                      BCHF Board of Trustees for approval. No one executive is authorized to

 19                      unilaterally bind BCHF to a facilities lease. All such leases require Board of

 20                      Trustee’s approval.

 21                  b. Because of BCHF’s non-profit status and its duty to report operational costs to the

 22                      federal government, and because all facility lease terms must be presented to the

 23                      Board of Trustees for review, landlords cannot work with individual BCHF’s

 24                      executives in drawing up leases that are substantially above fair market value, and

 25                      then put those leases into operation. The only means of obtaining such a lease is

 26                      for the landlord to:

 27                          i. Work hand in glove with the BCHF executive(s) in charge of facilities

 28                              procurement; and
                                                    - 28 -

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  1                          ii. Participate in the operation and management of facilities procurement at

  2                              BCHF; and

  3                         iii. Work with a BCHF insider to exert enough control over BCHF’s ordinary

  4                              facilities procurement operations and management to initiate an over-

  5                              market lease without seeking Board approval, and then maintain the lease

  6                              so that over-market rent payments will continue every month thereafter,

  7                              for the duration of the lease. This is what occurred here. The defendants

  8                              worked with BCHF insiders to get this done as follows. Again:

  9           a.     BCHF’s former CEO Bruce Hebets, deceased (BCHF “Insider”):

 10          103.    Hebets, acting as BCHF’s Chief Executive Officer at the time, knowingly acted in

 11 concert with each of the Priest LLCs to enter into 30+ year leases at more than twice fair market rent.

 12 The Priest Leases were never presented to the BCHF Board for authorization or approval. In breach of

 13 his fiduciary duties, Hebets signed each of these contracts without:

 14                 Approval from the Board;

 15                 Disclosing their terms to the Board;

 16                 Disclosing to the Board his relationship with Priest;

 17                 Presenting the Board with any evidence of due diligence in determining the fair

 18                          market value of the contracts; and without,

 19                 A Board resolution approving any of the Priest Leases.

 20          104.    Hebets also knew that the all-volunteer BCHF Board members would review only

 21 those contracts presented to them, and that they would never have reason to see the Priest LLC leases

 22 unless the BCHF executive managing the relationship with Priest LLCs decided to present the leases.

 23                  a. As BCHF’s CEO, Hebets knew that financial reports presented to the Board did

 24                      not include or otherwise call out the individual facility rents in a way that might

 25                      suggest that they were over market or had unreasonably long (i.e., 30 year) lease

 26                      terms. Financial reports to the Board include only the aggregate rents paid on all

 27                      25 facilities.

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  1                  b. Hebets also knew that BCHF’s accounts payable personnel would make monthly

  2                      rent payments as requested, without questioning the reasonableness of those

  3                      monthly rent payments.

  4                  c. Thus, unless the leases themselves were presented to the Board of Trustees for

  5                      vetting and approval, there was absolutely no way that BCHF would be put on

  6                      notice of any potential financial or other injury associated with, or caused in

  7                      whole or in part by over-market leases. Nor would the Board have any access to

  8                      facts that might put them on inquiry notice that Hebets was working with Priest

  9                      and/or his senior executive Travis Lyons, and, through them, the three Priest

 10                      LLCs, to make all management and operations decisions for BCHF pertaining to

 11                      the Priest leases, in a manner contrary to BCHF’s ordinary operations and

 12                      management of facilities procurement, and contrary to BCHF’s financial and

 13                      regulatory compliance interests. These irregular management and operations

 14                      decisions were then carried out under Hebets’ direction, resulting directly in the

 15                      monthly mailing of rent checks from BCHF to Priest’s headquarters in El Cajon,

 16                      California over an eight-year period.

 17                  d. Hebets’ continued concealment of the leases from BCHF was a separate breach of

 18                      fiduciary duty in furtherance of the scheme to steal money from BCHF every time

 19                      a monthly rent check was mailed to BCHF.

 20                  e. Each time Hebets stood mute while management presented a financial report to

 21                      the board that failed to call out overmarket rents and 30-year lease terms of the

 22                      Priest LLC leases was also a separate breach of fiduciary duty in furtherance of

 23                      the scheme to steal money from BCHF.

 24          105.    Until his retirement from BCHF for health reasons, Hebets ensured that the over-

 25 market rents and 30-year terms of the Priest Leases were never reported to BCHF’s Board of

 26 Trustees. Throughout his final years as CEO, Hebets was in communication with Darryl Priest and

 27 Priest’s senior executive in charge of operations of the Priest LLCs, Travis Lyons. Priest leases were

 28 amended, again without notice to the Board or to anyone who might possibly report the leases to the
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  1 Board. Through this relationship, Priest and Lyons, acting in their respective capacities as the owner

  2 and the chief of operations of the Priest LLCs, maintained direct involvement in the operational and

  3 management decisions of BCHF essential to the continuation of the grossly overpriced leases, and

  4 also carried out the directives of Hebets relating thereto.

  5           b.      The Priest Entities, through Darryl Priest (“Outsiders”):

  6          106.     Priest owns the three Priest LLCs. At all times, the three Priest LLCs acted through

  7 Priest and his employed senior executive Travis Lyons. Priest and Hebets devised a scheme under

  8 which Priest would utilize BCHF as a conduit of federal healthcare funds to pay for the overpriced

  9 clinic facilities at issue here. In order to make the scheme work for the Priest LLCs, Priest, in his

 10 capacity as the owner of the Priest LLCs, worked with Hebets to devise management and operational

 11 decisions at BCHF which Hebets alone could not engineer or devise due to his lack of experience and

 12 expertise in facilities leasing. The Priest entities then carried out those activities under Hebets’

 13 direction.

 14          107.     As an example, Priest and Hebets decided to have BCHF sign the lease for the

 15 Barstow facility (the Inland Valley Investments, LLC lease) before the facility even existed. On

 16 information and belief, Priest then presented the over-market lease to a federally insured lending

 17 institution to help obtain financing for the facility (making BCHF in essence a participant in the

 18 development and financing of the Barstow facility). Priest then converted a defunct bowling alley in

 19 Barstow into a clinic. Hebets, whose pre-BCHF job training was in law enforcement, could not alone

 20 develop the operational or management decisions required to enable BCHF to engage in this activity

 21 without Priest’s assistance. Through Darry Priest, defendant Inland Valley Investments LLC took

 22 part in BCHF’s operations and management decisions essential to the commencement and

 23 maintenance of this lease. Once the plan was put in place, the Priest LLC (IVI) then carried out the

 24 plan under Hebets’ direction, who initiated and maintained the lease relationship without its

 25 disclosure to the BCHF Board of Trustees.

 26           c.      The Priest Entities, through Travis Lyons (“Outsiders”):

 27          108.     Travis Lyons is Priest’s senior executive and right-hand man, who functions as the

 28 chief of operations for the Priest LLCs. As Hebets was departing BCHF, Lyons began having regular,
                                                    - 31 -

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  1 often weekly private meetings with Hebets’ successor as CEO, BCHF’s then Chief Legal Officer,

  2 Mikia Wallis (currently the subject of an ongoing criminal investigation). Lyons and Wallis met

  3 privately in regard to BCHF’s operations and management of the Priest owned entities, including the

  4 three Priest LLCs leased to BCHF and the Priest-owned management services organization contracted

  5 to BCHF. As an experienced commercial real estate development and management executive, Lyons

  6 was aware of fair market rent prices for the three subject Priest LLCs and would therefore be expected

  7 to know that the leases were far above market value in terms of both price and duration.

  8          109.    Lyons and, on information and belief, Wallis were aware of the exorbitant terms in all

  9 Priest-owned entity contracts with BCHF and, under Wallis’ direction, worked together in private to

 10 continue to operate the relationship and activities of those entities with BCHF without BCHF Board

 11 knowledge of the enormous over-market sums of money BCHF paid the Priest LLCs and other Priest-

 12 owned entities (i.e., two management services organizations not at issue here). Through Lyons’

 13 regular private meetings with Wallis, the Priest LLCs regularly continued their participation in

 14 BCHF’s operations and management decisions pertaining to the Priest LLCs set up by Hebets and

 15 Priest. The decisions were then carried out under Wallis’ direction.

 16           d.     Mikia Wallis (BCHF “Insider”):

 17          110.    Until the investigation initiated by law enforcement in October 2020 brought her

 18 activities with the Priest entities to light, Wallis was BCHF’s Chief Legal Officer (CLO), and then its

 19 CEO. Wallis operated with the Priest entities (through Lyons) out of sight of both the BCHF Board of

 20 Trustees and other BCHF executives. Importantly, Wallis knew what was contained in reports to the

 21 BCHF Board, and more importantly, what was not. As relevant here, Wallis knew BCHF leased over

 22 20 facilities throughout Southern California and would therefore know that it would be easy to

 23 continue to conceal the overmarket rents paid the three Priest LLCs in the financial report line item

 24 aggregated for all facility rents, which were not broken out individually by facility.

 25          111.    Wallis also knew that volunteer BCHF Board members would review only those

 26 contracts presented to them, and that they would never have reason to see the Priest LLC leases unless

 27 the BCHF executive managing the relationship with Priest LLCs decided to present the leases. Thus,

 28 unless the leases themselves were presented to the Board of Trustees for vetting and approval, there
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  1 was absolutely no way that BCHF would be put on notice of any potential financial or other injury

  2 associated with, or caused in whole or in part by over-market leases. Nor would the Board have any

  3 access to facts that might put them on inquiry notice that Lyons, and through him, the Priest LLCs

  4 were working with Wallis to continue the Priest LLCs participation in the irregular facilities

  5 procurement operations and mamgement decisions made by Hebets and Darryl Priest. These decisions

  6 were then carried out under Wallis’ direction.

  7           e.      Racketeering Activity Distinct from Enterprise:

  8          112.     The pattern of racketeering described herein is separate and distinct from the

  9 Enterprise, due to both the relationship between the activities of the Enterprise and the pattern of

 10 racketeering activity, and how the racketeering activity differs from the usual daily activities of the

 11 enterprise is as follows:

 12                   a. BCHF, the Enterprise, is engaged in interstate commerce acting as a FQHC.

 13                       Defendants, together with Hebets and Priest, worked together to perpetrate a

 14                       scheme to steal money from the Enterprise paid to the Enterprise by state and

 15                       federal payers utilizing primarily federal funds (Medicaid).

 16                   b. Rental of real estate is ancillary to the primary mission of the FQHC, which is the

 17                       provision of healthcare to under-served communities. All efforts of BCHF are to

 18                       be directed at the efficient accomplishment of this mission.

 19                   c. The manner in which the Priest LLC leases were procured is contrary to the

 20                       ordinary and regular operations and management of BCHF in facilities

 21                       procurement, and occurred only because the defendants, acting through Hebets’

 22                       friend Darryl Priest, successfully participated with Hebets in taking over the

 23                       management and operations of BCHF’s facilities procurement for the purpose of

 24                       entering into and then maintaining a series of overmarket monthly payments under

 25                       them.

 26                   d. Again, BCHF owns none of its own facilities. One of the key roles of BCHF’s

 27                       management and operations is therefore the procurement of facilities in order to

 28                       carry out its mission, as described above. Ordinary and regular operations and
                                                    - 33 -

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  1                       management of facilities procurement is performed by BCHF executives who

  2                       venture into the marketplace and secure facility leases in Southern California in an

  3                       arm’s length transaction at market prices, and submit the proposed leases to the

  4                       BCHF Board of Trustees for approval. No one executive is authorized to

  5                       unilaterally bind BCHF to a facilities lease. All such leases require Board of

  6                       Trustee’s approval.

  7                  e. Instead of following BCHF’s ordinary management and operations, Hebets and

  8                       Priest commandeered the mamgement and operations of BCHF’s facilities

  9                       procurement and secretly caused BCHF to enter into the three unauthorized, over

 10                       market 30-year facility leases.

 11          2.      RICO Liability:

 12         113.     18 USC §§1962 (c) and (d). As detailed herein, defendants’ conduct is unlawful

 13 under 18 U.S.C. 1962(c), and is also unlawful as a conspiracy under 18 U.S.C. 1962(d).

 14         114.     18 USC §1341 (Mail Fraud): Again, the purpose of the scheme was to steal money

 15 from BCHF by concealing unauthorized over-market leases from BCHF’s Board of Trustees and any

 16 other person who might report the egregious lease terms to the Board. In the manned detailed above,

 17 defendants participated in devising and/or intending to devise a scheme to perform the fraudulent acts

 18 described herein.

 19                  a. The scheme could not work without the use of the United States Mail, which was

 20                       used for the purpose of executing the scheme.

 21                  b. Among other things, the mail was used to deliver monthly rent checks for each of

 22                       the three over-market leases described herein, from BCHF’s headquarters in

 23                       Borrego Springs, California to the Priest LLC’s corporate headquarters in El

 24                       Cajon, California.

 25                  c. These checks were mailed every month, from the commencement of the leases

 26                       described herein, until the terms of the leases were revealed to the BCHF board of

 27                       Trustees late in 2020.

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  1                  d. Each individual check mailing was an individual act essential to the success of the

  2                      scheme (and therefore material) and constitutes a separate loss the victim suffered

  3                      as of the date of mailing. This constitutes hundreds of predicate acts under 18

  4                      USC 1341 (Mail Fraud).

  5         115.     18 USC §1343 (Wire Fraud): Again, the purpose of the scheme was to steal money

  6 from BCHF by concealing unauthorized over-market leases from BCHF’s Board of Trustees and any

  7 other person who might report the egregious lease terms to the Board. In the manned detailed above,

  8 defendants participated in devising and/or intending to devise a scheme to perform the fraudulent acts

  9 described herein, and to use the interstate electronic transmission of documents for the purpose of

 10 executing, or attempting to execute, the scheme. The scheme was used to steal funds from a federally

 11 funded and regulated FQHC, which in turn would result in the inflation of reimbursement rates the

 12 Federal Government would pay to the FQHC (BCHF) for thousands of patient encounters, as follows:

 13                  a. BCHF is largely funded by federal health care dollars (primarily Medicaid),

 14                      administered by and through the California Department of Healthcare Services.

 15                      BCHF must account for its lawful operating expenditures every year to the Center

 16                      for Medicare and Medicaid Services (CMS), a federal agency within the United

 17                      States department of Health and Human Services.

 18                  b. The amount of funds stolen through the scheme described herein are accounted for

 19                      and included as facilities operating expenses reported to CMS. These stolen funds

 20                      would not be reported as individual line items on an annual CMD cost report.

 21                      Rather, the stolen funds would then be melded into and combined and aggregated

 22                      with all other facilities operating costs of over 20 Southern California clinics

 23                      operated by BCHF, and then reported as an unidentified part of BCHF’s annual

 24                      cost reports submitted to CMS.

 25                  c. In turn, the United States uses BCHF’s annual cost reports to CMS in calculating

 26                      the proper level of federal health care funding (a.k.a. “reimbursement rates”) to

 27                      direct to BCHF. Thus, inflated CMS cost reports, unless detected, inevitably

 28                      result in increases in federally funded reimbursement rates for an FQHC such as
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  1                      BCHF. This has the effect of compounding the crime by causing to federal

  2                      government to cover some or all of the cost of the crime by way of increased

  3                      reimbursement rates paid BCHF based on inflated facility cost reports that include

  4                      the unlawful over market rents paid defendants herein.

  5                  d. Under the unlawful scheme described above, inflated operating costs were

  6                      reported to the United States via electronic interstate transmissions of annual cost

  7                      reports. This constitutes predicate acts under 18 USC §1343 (Wire Fraud) that are

  8                      a material part of the scheme that BCHF could not avoid. As noted, no one at

  9                      BCHF except Hebets and then , on information and belief, Wallis were aware that

 10                      the rents paid the three Priest entities were grossly over market, and neither

 11                      Hebets nor Wallis reported that fact to anyone at BCHF or to CMS. As a direct

 12                      and foreseeable result of the scheme detailed herein, the overmarket rents paid

 13                      defendants wound up on BCHF’s annual cost reports to CMS.

 14          116.    Racketeering activity as described in 18 USC §1961(1)(B), as an act indictable

 15 under 18 USC §1957 (Engaging in monetary transactions in property derived from specified

 16 unlawful activity that includes Federal healthcare offenses.) In addition to Mail Fraud and Wire

 17 Fraud, the scheme, including the several leases, the related concealment, and hundreds of individual,

 18 monthly over-market rent payments, constitutes a pattern of racketeering activity as described in 18

 19 USC §1961(1)(B), as acts indictable under 18 USC § 1957 (“Engaging in monetary transactions in

 20 property derived from specified unlawful activity”). “Specified unlawful activity” is, in turn, defined

 21 in 18 USC §1956 as including “any act or activity constituting an offense involving a ‘Federal

 22 health care offense.’” 18 USC §24 defines “Federal health care offense” as including “a violation

 23 of, or a criminal conspiracy to violate” any of the following:

 24                  a. 18 USC §669 (Theft or embezzlement in connection with health care):

 25                      Whoever knowingly and willfully embezzles, steals, or otherwise without

 26                      authority converts to the use of any person other than the rightful owner, or

 27                      intentionally misapplies any of the moneys, funds, securities, premiums, credits,

 28                      property, or other assets of a health care benefit program, shall be fined under this
                                                   - 36 -

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  1                 title or imprisoned not more than 10 years, or both. (“Health care benefit

  2                 program” means any public or private plan or contract, affecting commerce, under

  3                 which any medical benefit, item, or service is provided to any individual, and

  4                 includes any individual or entity who is providing a medical benefit, item, or

  5                 service for which payment may be made under the plan or contract.) The over-

  6                 market leases described herein are the means by which defendants, and each of

  7                 them stole, and converted to their own use public healthcare benefits paid BCHF

  8                 by state and federal agencies at a time BCHF was the rightful owner of those

  9                 funds. In addition, in this particular statute, BCHF itself qualifies under the broad

 10                 definition of “health care benefit program.” BCHF is an “entity who is providing

 11                 a medical benefit, item, or service for which payment may be made under the plan

 12                 or contract.” Here, the theft and from BCHF exceeds $11,000,000.

 13              b. Under 18 USC §1347 (Health care fraud), whoever knowingly and willfully

 14                 executes, or attempts to execute, a scheme or artifice (1) to defraud any healthcare

 15                 benefit program; or (2) to obtain, by means of false or fraudulent pretenses,

 16                 representations, or promises, any of the money or property owned by, or under the

 17                 custody or control of, any healthcare benefit program, in connection with the

 18                 delivery of or payment for healthcare benefits, items, or services, shall be fined

 19                 under this title or imprisoned not more than 10 years, or both.

 20                     i. BCHF itself qualifies under the broad definition of “health care benefit

 21                        program.” BCHF is an “entity who is providing a medical benefit, item, or

 22                        service for which payment may be made under the plan or contract.”

 23                    ii. Here, the defendants defrauded BCHF by entering into the over-market

 24                        leases with an entity they knew was a non-profit charitable corporation

 25                        providing publicly funded health care to financially disadvantaged citizens

 26                        in underserved communities. As such, defendants knew that BCHF could

 27                        not lawfully enter into contracts obligating BCHF to pay two to five times

 28                        fair market value for defendants’ facilities under 30-year leases that
                                              - 37 -

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  1                        contain no terms allowing BCHF to terminate the leases in a commercially

  2                        reasonable manner based on BCHFs needs.

  3                    iii. Defendants’ owner (Darryl Priest) and top executive (Travis Lyons) are

  4                        sophisticated and experienced in the field of commercial property

  5                        ownership and leasing. They therefore knew that the terms of the leases

  6                        at issue here were grossly “over-market” and unreasonable, and that no

  7                        non-profit entity could enter into them after full disclosure to its Board of

  8                        Trustees. Their work with BCHF’s facilities procurement operations and

  9                        management to develop facility leases for a non-profit FQHC with terms

 10                        that were two to five times fair market rent, combined with Hebets’

 11                        concealment of the lease terms from BCHF’s Board was, at minimum, a

 12                        false pretense that was a substantial factor in and direct cause of the theft

 13                        of $11,000,000 of funds under the custody and control of BCHF.

 14              c. 18 USC §1001 (False Statements or entries generally): Section 1001 is violated

 15                 if someone knowingly or willfully conceals or covers up by any trick, scheme or

 16                 device a material fact, which act is within the jurisdiction of a department or

 17                 agency of the United States. Here, defendants were involved in a scheme that

 18                 meets the elements of section 1001.

 19                 i. The preparation, signing, and concealment from the BCHF Board of Trustees

 20                     of leases that ultimately called for nearly $60 million in over-market lease

 21                     payments over the 30+ year life of the leases is concealment of a material fact,

 22                     since the leases had to be approved by the BCHF Board --- and never would

 23                     have been approved by the Board, due to the egregious lease terms detailed

 24                     above.

 25                 ii. This cannot occur “by mistake.” The failure to bring contracts of this

 26                     magnitude to the BCHF Board of Trustees, and the successful concealment of

 27                     the amounts paid for them month after month after month from the Board (for

 28                     nearly eight years since the inception of the first over-market lease) is
                                              - 38 -

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  1                     evidence that defendants participated in a scheme to “knowingly or willfully

  2                     conceal or cover up by any trick, scheme or device a material fact.” To

  3                     continue this scheme for 8 months, undetected, requires a diligent and

  4                     consistent effort to commit the same crime repeatedly, month after month.

  5                 iii. Those diligent in the commission of this crime were Hebets (now deceased),

  6                     Priest, Lyons, the Priest LLCs and, on information and belief, Wallis. The

  7                     scheme was used to steal funds from a federally funded and regulated FQHC.

  8                 iv. As noted, the amount of funds stolen would then be melded into overall

  9                     facilities operating costs of over 20 Southern California clinics operated by

 10                     BCHF and published in the annual cost reports submitted to the Centers for

 11                     Medicare & Medicaid Services, (CMS) of the Department of Health and

 12                     Human Services (HHS). There is no way to determine from a CMS cost report

 13                     that the reported facilities costs for BCHF included three grossly over-market

 14                     leases, as the amount paid every month on the three Priest leases would be part

 15                     of, and not individually identified in, a much larger facilities cost line item

 16                     reflecting leasing costs for all 20-plus Southern California BCHF facilities.

 17                 v. Inflated CMS cost reports, unless detected, result in increases in federally

 18                     funded reimbursement rates for an FQHC such as BCHF. This has the effect

 19                     of compounding the crime by causing to federal government to cover some or

 20                     all of the cost of the crime by way of increased reimbursement rates paid

 21                     BCHF. All of the transactions described above fall within the jurisdiction of

 22                     the United States, which can enforce BCHF’s compliance with CMS cost

 23                     reporting regulations and rules.

 24              d. Other federal healthcare offenses: In addition, the facts alleged herein also

 25                 amount to “federal healthcare offenses” under the following statutes: 18 USC

 26                 §371 (“Conspiracy to commit offense or to defraud United States”); 18 USC

 27                 §1035 (“False statements relating to health care matters”); 18 USC §1035 (“False

 28
                                              - 39 -

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  1                     statements relating to health care matters”); 18 USC §287 (“False, fictitious or

  2                     fraudulent claims”); 18 USC §1349 (“Attempt and conspiracy”).

  3        117.   The specific contracts entered into in furtherance of the scheme to steal money from

  4 BCHF are these:

  5               a. DRP & IVI – On February 2, 2016, Priest and Hebets created a lease obliging

  6                     BCHF to pay above-market rents for 30 years on property located on East Main

  7                     Street in Barstow. Initially, Priest signed on behalf of DRP as landlord. Base

  8                     monthly rent was set at $60,000. On April 3, 2016, Priest and Hebets executed an

  9                     amendment to the lease, raising the monthly rent to $104,820. On August 29,

 10                     2017, Priest (acting for DRP) assigned all landlord rights in the lease to IVI (Priest

 11                     signed for IVI). At all times, the fair market rent for this property never exceeded

 12                     $25,000. BCHF calculates that DRP or IVI or both of them have thus collected

 13                     $5,041,590.75 in unlawful rent.

 14               b. DRP – On September 15, 2015, Priest and Hebets created a lease obliging BCHF

 15                     to pay above-market rents for 30 years on property located on North D Street in

 16                     San Bernardino. Priest signed on behalf of DRP as landlord. Base monthly rent

 17                     was set at $62,704. At all times, the fair market rent for this property never

 18                     exceeded $25,000. BCHF calculates that DRP has thus collected $2,534,792.70 in

 19                     unlawful rent.

 20               c. PS -- On September 21, 2012, Priest and Hebets created a lease obliging BCHF to

 21                     pay above-market rents for 20 years on property located on West Main Street in El

 22                     Cajon. Priest signed on behalf of PS as landlord. Base monthly rent was set at

 23                     $41,749.52. In March 2013 Priest and Hebets executed Amendment 1 to the lease

 24                     substantially increasing monthly rent in future years. On or about September 13,

 25                     2013, Priest and Hebets executed Amendment 2 to the lease increasing the

 26                     monthly rent to $52,000, and substantially increasing monthly rent in future years.

 27                     On April 3, 2015, Priest and Hebets executed Amendment 3 to the lease

 28                     increasing the square footage, the term by 30 years, and the monthly rent to
                                                  - 40 -

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  1                    $97,912.50. On March 22, 2016, Priest and Hebets executed Amendment 4 to the

  2                    lease increasing the monthly rent to $111,900. At all times, the fair market rent

  3                    for this property never exceeded $73,000. BCHF calculates that PS has thus

  4                    collected $3,988,684.50 in unlawful rent.

  5         118.    The accrual date applicable to RICO claims under the discovery rule (and to all

  6 other causes of action pled above) is October, 2020; and plaintiff may sue to recover for the

  7 entire 8 years of losses. Again:

  8                 a. The concealment of the scheme detailed above and of the fact of injury resulting

  9                    therefrom worked to perfection until it came to light in October 2020 during a

 10                    government investigation unrelated to facilities procurement. But for that

 11                    unrelated investigation, the scheme that is the subject of this complaint would

 12                    likely remain undiscovered because the information that might reveal it to persons

 13                    with oversight responsibility (i.e., the Board of Trustees) was never placed in a

 14                    form under which the over-market price and unreasonable terms of each of the

 15                    three subject Priest LLC leases might be communicated to them.

 16                 b. Because plaintiff had no constructive or inquiry notice of the fact of injury

 17                    throughout the eight-year life of the scheme, plaintiffs’ right to recover money

 18                    stolen by defendants extends back to the commencement of each lease.

 19                 c. Accrual is the date on which the statute of limitations begins to run. It is not the

 20                    date on which the wrong that injures the plaintiff occurs, but the date on which the

 21                    plaintiff discovers that it has been injured. This is the "discovery rule" of federal

 22                    common law, which is read into statutes of limitations in federal-question cases

 23                    (even when those statutes of limitations are borrowed from state law) in the

 24                    absence of a contrary directive from Congress. There is no such contrary directive

 25                    from Congress applicable here that might limit application of the discovery rule.

 26                    Thus, the success of Hebets and, on information and belief Wallis’ successful

 27                    concealment of the over-market leases from BCHF and the fact of injury resulting

 28
                                                  - 41 -

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  1                       from operates to delay the accrual date of any statute of limitation to October,

  2                       2020.

  3                   d. Insiders Hebets and Wallis knew that volunteer BCHF Board members would

  4                       review only those contracts presented to them, and that they would never have

  5                       reason to see the Priest LLC leases unless the BCHF executive managing the

  6                       relationship with Priest LLCs decided to present the leases.

  7                   e. As noted, the amounts paid every month in rent on each of the three leases would

  8                       not be reported to the BCHF Board of Trustees. Rather, the amount paid each

  9                       moth would be melded into a line item on financial reports of all facility lease

 10                       expenses combined for all 20+ Southern California facilities leased by BCHF.

 11                   f. Thus, unless disclosed by Hebets or Wallis, there was no way that BCHF would

 12                       be put on notice of the terms of the three subject leases, or that Hebets and Wallis

 13                       were working with Priest, Lyons, and, through them, the three Priest LLC to make

 14                       all management and operations decisions pertaining to the over-market leases for

 15                       BCHF, and in a manner contrary to BCHF’s financial and compliance interests.

 16                       The fact of injury from the leases and from the defendants’ participation in

 17                       BCHF’s facilities procurement and operations and therefore could not be

 18                       discovered.

 19          119.     Four Year RICO “Reach Back:” Even if the over-market rents and unreasonably

 20 long terms of any of the three Priest LLC leases was somehow communicated to persons who would

 21 ordinarily provide that information to the Board, Plaintiff is still entitled to recover funds stolen under

 22 the leases going back four years prior to the filing of the complaint, since each lease payment

 23 constitutes a separate wrongful act.

 24          120.     Victims and Damages: BCHF, the United States, and the State of California are

 25 victims here.

 26                   a. BCHF was victimized by the amount of money stolen. As to each of the

 27                       individual defendants, here is an accounting of the damages ascribed to each

 28                       through 2021:
                                                    - 42 -

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  1                           i. IVI billed BCHF $960,303 in unlawful yearly rent, over the course of the

  2                               prior 5.25 years, resulting in damages no less than $5,041,590.75;

  3                           ii. DRP billed BCHF $460,871.40 in unlawful yearly rent, over the course of

  4                               the last 5.5 years, resulting in damages no less than $2,534,792.70;

  5                          iii. PS billed BCHF $469,257 in unlawful yearly rent, over the course of the

  6                               last 8.5 years, resulting in damages no less than $3,988,684.50.

  7                          iv. Here is a table summarizing the amounts stolen from BCHF throught the

  8                               three Priest leases through 2021:

  9                                      El Cajon        San Bernardino       Barstow         Overpayments
 10         Lessor                      Promenade             DRP           Inland Valley
            Rent - Month            $     111,686.00     $    62,704.00    $ 104,920.00
 11         FMR                     $       72,581.25    $    24,298.05    $ 24,894.75
 12         Monthly Overpayment     $       39,104.75    $    38,405.95    $ 80,025.25        $   157,535.95
            Yearly Overpayment      $     469,257.00     $ 460,871.40      $ 960,303.00       $ 1,890,431.40
 13         Initiation                       9/21/2012         9/15/2015           2/2/2016
 14         Years (to date)                 8.5               5.5                5.25
            Cumulative              $   3,988,684.50     $ 2,534,792.70    $ 5,041,590.75     $ 11,565,067.95
 15

 16
                      b. The Federal Government is a victim to the extent the inflated annual cost reports
 17
                          to CMS (described above) that included some of the overmarket rents in the table
 18
                          above resulted in increased reimbursement rates, and therefore additional federal
 19
                          funds being improperly paid BCHF.
 20
                      c. The State of California is a victim to the extent the inflated annual cost reports to
 21
                          CMS (described above) that included some of the overmarket rents in the table
 22
                          above resulted in increased reimbursement rates, and therefore causing additional
 23
                          state Medicaid funds being improperly paid BCHF.
 24
             121.     The predicate acts described above relate to each other as part of a common plan. The
 25
      predicate acts are a part of a common plan to steal money from BCHF. Each act is related as to its
 26
      purpose, results, participants, victims and method of commission. The predicates form a closed-end
 27
      series of related predicates extending over a substantial period.
 28
                                                     - 43 -

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  1          122.     The facts described herein also demonstrate the existence of a conspiracy between

  2 defendants (acting through Priest and Lyons) Hebets, and on information and belief, Wallis. (18 USC

  3 § 1962(d).)

  4          123.     By way of their knowing participation in the scheme, the Priest LLCs are culpable

  5 persons for purposes of 18 U.S.C. § 1964.

  6          124.     But for the scheme detailed above, BCHF would have leased properties at fair market

  7 value, and for reasonable terms. Accordingly, BCHF has been damaged by performing under the

  8 unlawful leases in an amount susceptible to proof, by no less than $11.5 million.

  9          125.     Accordingly, plaintiff is entitled to $11.5 million in damages, trebled pursuant to

 10 statute, together with reasonable attorney’s fees and costs, and interest.

 11

 12
                                              PRAYER FOR RELIEF
 13
              WHEREFORE, BCHF prays for judgment against defendants, and each of them, as follows:
 14
          1. With respect to the First Cause of Action—Constructive Trust (As to Priest LLCs only):
 15
              a. For imposition of a constructive trust in an amount subject to proof at trial, but no less
 16
                      than $11.5 million and on any real or personal property purchased with a portion of
 17
                      that amount; and,
 18
              b. Pre-judgment and post-judgment interest.
 19
          2. With respect to the Second Cause of Action—Reformation Due to Fraud (Priest LLCs only):
 20
              a. Order reforming the payments under the Priest Leases to reflect only FMR as rent due
 21
                      and owing, and further, to limit the term of the leases as commercially reasonable to
 22
                      no more than five years;
 23
              b. Order of restitution that all money paid to Priest LLCs in excess of the amount of rent in
 24
                      the reformed Priest Leases be returned to BCHF; and
 25
              c. Pre-judgment and post-judgment interest on all sums ordered returned.
 26

 27

 28
                                                   - 44 -

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  1      3. With respect to the Third Cause of Action—Rescission Due to Fraud (As to Priest LLCs

  2   only):

  3            a. Rescission of the Priest Leases;

  4            b. For actual and consequential damages in an amount subject to proof at trial, but in an

  5                    amount no less than $11.5 million or, in the alternative, restitution of all sums

  6                    unlawfully paid, less the reasonable rental value of the premises during BCHF’s

  7                    occupation of the three leased facilities;

  8            c. Punitive damages as allowed by law;

  9            d. Order providing for the reasonable surrender of the premises in a manner that will protect

 10                    the interests, safety, and health of BCHF’s patients; and

 11            e. Pre-judgment and post-judgment interest.

 12      4. With respect to the Fourth Cause of Action—Money Had and Received (As to Priest LLCs

 13   only):

 14            a. Order that money had and received by Priest LLCS be returned to BCHF, subject to proof

 15                    at trial, but in an amount no less than $11.5 million; and

 16            b. Pre-judgment and post-judgment interest.

 17      5. With respect to the Fifth Cause of Action—UCL Violations (As to Priest LLCs only):

 18            a. Restitution of all sums unlawfully paid, less the reasonable rental value of the premises

 19                    during BCHF’s occupation of the three leased facilities; and

 20            b. Pre-judgment and post-judgment interest.

 21      6. With respect to the Sixth Cause of Action—Declaratory Relief (As to Priest LLCs only):

 22            a. A declaration of the rights and liabilities of the parties to the attached Priest leases, as to

 23                    the matters alleged in dispute herein.

 24     7. With respect to the Seventh Cause of Action---RICO (As to Priest LLCs only)

 25                a. For damages of $11.5 million, trebled to $34.5 million pursuant to statute;

 26                b. Pre-judgment and post-judgment interest; and,

 27                c. Reasonable attorney’s fees and costs.

 28
                                                      - 45 -

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  1     8. With respect to all causes of action:

  2         a. Costs of suit;

  3         b. Reasonable attorney’s fees and costs as allowed by law; and

  4         c. Such other and further relief the Court deems just and proper.

  5

  6   Dated: March 22, 2022                         HATTON, PETRIE & STACKLER

  7                                                /s/ Gregory M. Hatton
  8                                           By:
                                                    Gregory M. Hatton
  9                                                 Arthur R. Petrie, II
                                                    Dan E. Heck
 10                                                 Attorneys for Plaintiff
                                                    BORREGO COMMUNITY HEALTH FOUNDATION
 11

 12
                                        DEMAND FOR JURY TRIAL
 13
            BCHF hereby demands a jury trial in this matter.
 14

 15   Dated: March 22, 2022                         HATTON, PETRIE & STACKLER

 16                                                /s/ Gregory M. Hatton
 17                                           By:
                                                    Gregory M. Hatton
 18                                                 Arthur R. Petrie, II
                                                    Dan E. Heck
 19                                                 Attorneys for Plaintiff
                                                    BORREGO COMMUNITY HEALTH FOUNDATION
 20

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  1                                  CERTIFICATE OF SERVICE

  2          I, John McMahon, certify that on March 22, 2022, I caused the foregoing document to

  3   be electronically filed with the Clerk of the Court using the CM/ECF system, which will send

  4   notification of such filing to those attorneys of record registered on the CM/ECF system.

  5
                                                     /s/ John A. McMahon
  6                                               ____________________________
                                                   John McMahon, Attorney
  7

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                                     STATEMENT FOR PHARMACY ACCESS



   Borrego Community Health Foundation Pharmacy

   155 WEST MAIN STREET

   EI Cajon,   California,   92O2O

   A: Business and Professions Code 41L6 states that no person shall be permitted enter into a
   premises licensed by the Board of Pharmacy unless a registered pharmacist is present at all
   times.



   B: Title L6, Section 114(d) of California Code of regulations provides that only a licensed
   pharmacist may have a key to an area where dangerous drugs and controlled substances are
   stored.



   C: The California State Board of Pharmacy requires that no lease for a licensed premises contain
   a provision inconsistent with Sections 41.1.6 or t7L4(d).



   D: The landlord and thetenant hereby clarify the lease with respect to the Landlord's ability to
  access the premises by affixing their signatures below. The signatories agree to the adhering to
  Sections 4tL6 or 171,4(d).




  Landlord                                                 Tenant

  Promenade Square, LLC                                    Borrego Community Health Foundation

  124 West Main Suite 240                                  P.O. Box 2369

  El Cajon, California 92020                               Borrego Spri     California 92004



                             @u 2o                                             ,lklroaD
  Signature                  Date                          Signature            Date




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